     Case 3:22-cv-00177-M Document 38 Filed 04/21/22              Page 1 of 1 PageID 1069



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

ASSOCIATION OF CLUB EXECUTIVES                  §
OF DALLAS INC et al.,                           §
                                                §
        Plaintiffs,                             §
                                                §           Civil Action No. 3:22-cv-00177-M
v.                                              §
                                                §
CITY OF DALLAS TEXAS,                           §
                                                §
        Defendant.                              §
                                                §

                                             ORDER

        On April 21, 2022, the Supreme Court issued its opinion in City of Austin, Texas v.

Reagan National Advertising of Austin, LLC, 596 U.S. ___ (2022) (slip op.). By April 28, 2022,

the parties shall submit comments, not to exceed five pages per side, on the impact on this case

of the Supreme Court’s decision in Reagan.

        SO ORDERED.

        April 21, 2022.


                                             BARBARA M. G. LYNN
                                             CHIEF JUDGE
